                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )     Case No. 3:13-00041-4
                                             )     Magistrate Judge Knowles
CHANTHALA KEETO NIRAVONG                     )


                                          ORDER


         Pending before the Court is Defendant’s Motion to Set Bond. Docket No. 65. This

matter is set for a hearing on Thursday, December 19, 2013, at 10:30 a.m. before the

undersigned.

         IT IS SO ORDERED.



                                            ___________________________________
                                            E. CLIFTON KNOWLES
                                            United States Magistrate Judge




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